Case 1:07-cv-00541-LG-JMR Document 43-3 Filed 03/05/08 Pagelof3

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HALEY N. BROOM
AMANDA M. SCHWARTZ*** ‘November 20, 2007
JON S. TINER

*also ficensed In TX
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VIA FACSIMILE - (865-0337)
Michael Crosby, Esq.

2111 25" Avenue

Gulfport, MS 39501

Re: Roderick Clark Miller v. Harrison County, Mississippi, et al.
U. S. District Court, Southern District of Mississippi, Southern Division
Civil Action No. 1:07cv541
Our File No. 1811.0108

Dear Michael: )

| have previously contacted. your office regarding the Plaintiff's Pre-Discovery Disclosures
which are now past due. Please forward same at your earliest convenience.

Sincerely,

DUKES, DUKES, KEATING & FANECA, P.A.

NV Brow

Haley N. Broom

HNB:Ih
Enclosure

cc: John Whitfield
Jim Davis
Karen Young
George Hembree, III

EXHIBIT

"BN"

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TO: Michael Crosby, Esq.
FROM: Haley N. Broom, Esq.

FAX NO: 865-0337
DATE: November 20, 2007

RE: Miller v. Harrison County, Mississippi et al.

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